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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                    )
                                          )
            Plaintiffs,                   )
                                          )
      vs.                                 )         Case No. 4:17 CV 2455 CDP
                                          )
CITY OF ST. LOUIS, MISSOURI,              )
                                          )
            Defendant.                    )

                           MEMORANDUM AND ORDER

      This matter is before me on plaintiffs’ unopposed motion to amend their

complaint. Defendant having no objection,

      IT IS HEREBY ORDERED that the motion for leave to file second

amended complaint [88] is granted, and the second amended complaint is deemed

filed as of this date.

      IT IS FURTHER ORDERED that the motion to certify class [20] directed

to the amended complaint is denied without prejudice as moot, and plaintiffs shall

file their motion and supporting memorandum to certify the proposed class set out

in the second amended complaint by no later than January 4, 2019, or the class

allegations will be stricken from the complaint without further notice by the Court.

Defendant shall file any opposition to class certification by no later than February
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1, 2019, and plaintiffs may file any reply brief in support of class certification by

no later than February 11, 2019.




                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 5th day of September, 2018.




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